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General of California, in his

Defendant.

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

Xx CORP., No. 2:23-cv-01939-WBS-AC
Plaintiff,
Vv. AFFIDAVIT OF WIFREDO FERNANDES
IN SUPPORT OF X CORP.'S MOTION
ROBERT A. BONTA, Attorney FOR PRELIMINARY INJUNCTION

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Wifredo Fernandez, being duly sworn, deposes and states as follows:

1. I am the Head of Government Affairs for the United States
and Canada at X Corp., a position I have held since May 2023.

2. I have been employed by X Corp. (previously Twitter,
Inc.) since September 2020. I served as Federal and State Public
Policy Manager from September 2020 to April 2022 and Head of State
and Local Public Policy from April 2022 to May 2023.

3. I hold a law degree from the University of Miami, a
Master of Arts in Teaching from American University, and a Bachelor
of Arts in Political Science from the University of Pennsylvania.

4, I am submitting this affidavit in support of Plaintiff's
Motion for Preliminary Injunction. I have personal knowledge of
the facts set forth herein, unless otherwise noted. If called upon
as a witness, I could and would competently testify to those facts.

5. Annexed as Exhibit 1 is a true and correct copy of the
November 3, 2022 letter from Robert A. Bonta, Attorney General of
California, in his official capacity, to Elon Musk (then-CEO of
Twitter, Inc.), Mark Zuckerberg (CEO of Meta Platforms, Inc.),
Susan Wojcicki (then-CEO of YouTube, Inc.), Shou Zi Chew (CEO of
TikTok, Inc.), and Steve Huffman (CEO of Reddit, Inc.). Exhibit 1
is available online at

https://oag.ca.gov/system/files/attachments/press-

docs/Election%20Disinformation%20and%20Political%20Violence.pdf.

6. Annexed as Exhibit 2 is a true and correct copy of the

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November 4, 2022 press release Attorney General Bonta Calls on
Social Media Companies to Stop the Spread of Disinformation Ahead
of 2022 Midterm Elections, which publicized the letter attached as
Exhibit 1. Exhibit 2 is available online at

https://oag.ca.gov/news/press-releases/attorney-general-bonta-

calls-social-media-companies-stop-spread-disinformation.

7. In my capacity as Head of Government Affairs at X Corp.,
I have significant experience working with the offices of state
Attorneys General across the nation, including Attorney General
Robert A. Bonta’s office. My job duties include liaising with the
offices of various Attorneys General, including Attorney General
Bonta’s office. As part of my job, I frequently review, interpret,
and respond to correspondence sent to X Corp. by the offices of
Attorneys General and advise X Corp. - from a policy perspective -
as to how best to interpret and respond to such correspondence.

Bi As part of my job, I reviewed and analyzed the November
3, 2022 letter from AG Bonta, Exhibit 1, and the November 4, 2022
press release publicizing the letter, Exhibit 2.

9, Exhibit 1 is a November 3, 2022 letter from Attorney
General Bonta to X Corp.’s CEO, Elon Musk, and the then-CEOs of
other major social media companies - Meta, YouTube, TikTok, and
Reddit. The letter “express[es] concern” with what Attorney
General Bonta calls “the ongoing spread of disinformation and

misinformation through social media platforms operated by your

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companies.” Ex. 1 at 1. In the letter, AG Bonta makes clear that
ne believes X Corp.’s moderation efforts concerning disinformation
and misinformation — and those of the other social media companies
he is writing to — are “insufficient” and “inadequate.” Exhibit 1
at l, 8.

10. The categories of speech that AG Bonta focuses on in the
letter - disinformation and misinformation ~- are two of the
categories of content enumerated in AB 587. § 22677 (a) (3).

ll. The Attorney General “urge[s]” and “implore[s]” the
companies to take certain action - namely, “to strengthen and
accelerate your companies’ ongoing efforts to consistently,
transparently, and aggressively address violations of your policies
with respect to disinformation and violations of state and federal
law” and “to employ your immense resources, tools, and familiarity
with the operation of your social media platforms to stop the
spread of disinformation, misinformation, conspiracy theories, and
threats that fuel political violence.” fd. at 2.

12. The language used by the Attorney General in the letter
is strong: it states that, “notwithstanding your efforts towards
combating false information online, its continued spread and
increasingly violent consequences demand greater corrective
action.” Id. at 3. Part of that “greater corrective action” is,
in the view of the Attorney General, for the social media companies

to “take action” to better “enforce” “published policies that

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prohibit much of the disinformation, coordinated inauthentic
behavior, and election interference exhibited previously.” Id.
The letter repeatedly uses language strongly suggesting that, in
the view of the Attorney General, the social media companies have
“a duty,” “a responsibility,” and “an obligation” ~ both legally
and morally - to stop the spread of what he refers to as
“disinformation” and “misinformation.” Id. at 4, 7.

13. That the Attorney General conveys that he believes the
duties are, in part, legal is made clear by a section of the letter
that is entitled “The State of California Has A Mandate to Protect
its Citizens’ Voting Rights.” Id. at 4. That section makes
reference to numerous California state laws that Attorney General
Bonta argues prohibit certain types of speech that might be labeled
“disinformation” or “misinformation” in connection with the
political process.

14. The Attorney General cites eight California laws in that
section, one of which is AB 587, the law at issue in this case. As
to that law, the Attorney General states in the letter that, “[i]n
2024, social media platforms will also have additional transparency
obligations, as required by recent state legislation that requires
disclosures on content moderation practices as it relates to
extremism or radicalization, disinformation or misinformation, and
foreign political interference.” Id.

15. The very next sentence after the one about AB 587

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contains a clear threat of enforcement. It states, “ft]he
California Department of Justice will not hesitate to enforce these
laws [i.e., the eight mentioned, including AB 587] against any
individual or group that viclates them. However, given social
media’s predominance and influence in American political discourse,
your companies and you as these companies’ executives share a
responsibility to use the tools at your disposal to combat the
dissemination of disinformation that interferes with our electoral
system and to report to law enforcement illegal activity detected
om your respective social media platforms that interferes with
Americans’ right to vote.” Id. (emphasis added}.

16. This threat of enforcement of AB 587 and the other
referenced California laws is coupied with a series of carefully-
worded demands from the Attorney General appearing in other
sections of the letter. Specifically, the letter states:

a. “It is [] incumbent on your companies to institute and
enforce durable dynamic policies that will actually
prevent disinformation and misinformation from
spreading.” Id. at 3 {emphasis added}.

b. “I urge you to strengthen and accelerate your
companies’ ongoing efforts Lo consistently,
transparently, and aggressively address violations of
your policies with respect to disinformation and

violations of state and federal iaw,.” Id. at 2

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{emphasis added}.

c. “I implore you to do more to rid your platforms of the
dangerous disinformation, misinformation, conspiracy
theories, and threats that fuel political viclence,
spread fear and distrust, and ultimately chill our
democratic process.” fd. at 8 (emphasis added}.

d. “You must continue to take action pursuant to [xX
Corp.’s} policies and enforce [X Corp.’s] terms
against disinformation, voter suppression, and
coordinated inauthentic or violent behavior.” Id. at
3 (emphasis added).

e. “I [] aimpiore you to employ your immense resources,
tools, and familiarity with the operation of your
social media platforms to stop the spread of
disinformation, misinformation, conspiracy theories,
and threats that fuel political violence.” Id. at 2
(emphasis added).

17. The Attorney General’s press release (Exhibit 2)
reinforces the message that the Attorney General is demanding
action from the social media companies on this subject. For
example, it states that, “In advance of the upcoming 2022 midterm
elections, social media platforms must take further action - such
as enforcement of their content moderation policies and terms of

service —- to stop the spread of disinformation and misinformation

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that attack the integrity of our electoral processes.” Exhibit 2
at 1-2 (emphasis added).

18. Based on my experience, letters from Attorneys General,
such as this one, that “urge” companies to take action that the
Attorney General claims they have a “duty” or “responsibility” to
do, and, at the same time, threaten enforcement of certain
specified laws, are a precurser te legal action taken by the
Attorney General if the companies don’t “voluntarily” take the
actions requested by the Attorney General.

19. Based on my experience in governmental affairs and in
dealing with numerous offices of Attorneys General across the
country, I interpret Attorney General Bonta’s letter as a thinly-
veiled threat from the Attorney General to try to force X Corp. toa
limit specific speech - here, “misinformation” or “disinformation,”
presumabiy as defined by Attorney General Bonta’s Office - that
Attorney General Bonta finds cbhjectionable or face enforcement
action. The letter and press release maxe clear that the Attorney
General intends to use enforcement of AB 587 as one of his many
tools to “urge” or pressure social media companies to “enforce[]}
their content moderation policies and terms of service” in order
“to stop the spread of disinformation and misinformation that
attack the integrity of our electoral processes.” Ex. 2.

20. xX Corp. takes very seriously its obligations to enforce

its own content moderation policies on the X platform, and X has

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1 | processes and procedures in place to enforce those policies. It
2 is not the State of California’s place to dictate to K Corp. what

those policies should be or to pressure X Corp. with threats to

4
enforce laws like ARB 587 to regulate constitutionally-protected
5
content in ways that the State wants or insists upon.
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” A od haere cnn
10 Dated: Washington, D.C. ‘ ee
11 October 4, 2023 WIFREDO FERNANDEZ NS
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Sworn to before me this
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“thday of October, 2023
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1? Cd
18 Notary Public

APPIDAVIT OF WIFREDO PERNANDEZ 3

